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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                         Plaintiff,
                                                  Case No. 20-13293
 v.                                               Hon. David M. Lawson

 INTERNATIONAL UNION, UNITED
 AUTOMOBILE, AEROSPACE, AND
 AGRICULTURAL IMPLEMENT WORKERS
 OF AMERICA,

                      Defendant.
 _______________________________________/

         MOTION FOR LEAVE OF COURT ALLOWING LIMITED
      PARTICIPATION OF INTERESTED PARTIES MARGARET MOCK
                AND RICH BOYER AS AMICI CURIAE

        Interested Parties Margaret Mock and Rich Boyer (together, the

 “Movants”) move, by their undersigned counsel, for entry of an order

 granting leave of the Court allowing their limited participation in this case

 as amici curiae (hereafter, the “Motion”). Specifically, the Movants seek

 entry of a proposed order (to be submitted to the Court through the ECF

 Utilities function, with copies to all parties), that would permit their

 counsel to (a) appear and speak on their behalf at the Court’s scheduled

 November 26, 2024 hearing on the cross-motions of the UAW and the



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 UAW Monitor seeking, respectively, Clarification and Enforcement of the

 Consent Decree here (ECF Nos. 127 and 128, together, the “Cross-

 Motions”), and (b) provide this Court with a 2016 unpublished decision of

 the United States District Court for the Southern District of New York

 rendered in that Court’s Case No. 88-cv-04486 (the “SDNY Decision”) that

 has already been furnished to counsel for Plaintiff, Defendant and the

 UAW Monitor. Movants represent that the unpublished SDNY Decision is

 pertinent and germane to the Court’s resolution of the issues presented by

 the Cross-Motions.

       Movants are constitutional officers of Defendant UAW, and are

 elected members of its International Executive Board, the highest

 governing body of the UAW between the Union’s quadrennial

 constitutional conventions. They have a direct interest in the Consent

 Decree Cross-Motions here, as described in the Declaration of Margaret

 Mock, filed herewith. Despite this interest, however, the Movants do not

 presently seek the status of Rule 24 Intervenors. Instead, they seek only the

 limited relief described above. Their Brief set forth below further explains

 the basis for this Motion.




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       As required by Local Rule 7.1(a), the undersigned counsel certifies

 that he conferred on multiple occasions with the parties’ counsel and with

 unrepresented parties, explaining the nature of this Motion and the legal

 basis for it. Concurrence in the relief sought here was requested but not

 obtained from Defendant UAW, which will oppose. Counsel for Plaintiff

 United States of America and the UAW Monitor have authorized the

 undersigned to state that each support the relief sought by this Motion.

       WHEREFORE, the Movants respectfully request that the Court grant

 them leave (a) permitting their counsel to appear and speak on their behalf

 at the Court’s scheduled November 26, 2024 hearing on the Cross-Motions

 of the UAW and the UAW Monitor, and and (b) permitting their counsel to

 provide the Court with the unpublished SDNY Decision that Movants have

 previously provided to the parties.

                              Respectfully submitted,

                              LAW OFFICE OF MICHAEL NICHOLSON

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                                       Michigan Attorney Bar No. P33421
                                       Counsel for Margaret Mock and Rich Boyer
 Dated: November 7, 2024.


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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

                        Plaintiff,
                                                Case No. 20-13293
 v.                                             Hon. David M. Lawson

 INTERNATIONAL UNION, UNITED
 AUTOMOBILE, AEROSPACE, AND
 AGRICULTURAL IMPLEMENT WORKERS
 OF AMERICA,

                      Defendant.
 _______________________________________/



     BRIEF IN SUPPORT OF MOTION FOR LEAVE OF COURT
  ALLOWING LIMITED PARTICIPATION OF INTERESTED PARTIES
     MARGARET MOCK AND RICH BOYER AS AMICI CURIAE




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                            ISSUE PRESENTED

       Should the Court grant the Movants leave for limited amici curiae

 participation as interested parties to (a) appear and speak through counsel

 at the Court’s scheduled November 26, 2024 hearing on the Cross-Motions

 of the UAW and the UAW Monitor (ECF Nos. 127 and 128) which seek,

 respectively, clarification and enforcement of the Consent Decree here, and

 (b) permit their counsel to provide the Court with an unpublished decision

 of the United States District Court for the Southern District of New York,

 which Movants submit is pertinent and germane to the Court’s resolution

 of the Cross-Motions.




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                        CONTROLLING AUTHORITY

 Dunbar v. Landis Plastics, Inc., 996 F. Supp. 174, 179 (N.D.N.Y. 1998);

 United States v. Michigan, 116 F.R.D. 655 (W.D. Mich. 1987);

 Hoptowit v. Ray, 682 F.2d 1237 (9th Cir. 1982);

 and see, Federal Rules of Appellate Procedure, Rule 28(j).




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                  ARGUMENT IN SUPPORT OF MOTION

       Federal district courts have the inherent authority to permit a non-

 party to participate as an amicus curiae in a case, see United States v. State of

 Michigan, 116 F.R.D. 655, 660 (W.D. Mich. 1987), and have broad discretion

 in deciding whether to permit such participation. See Dunbar v. Landis

 Plastics, Inc., 996 F. Supp. 174, 179 (N.D.N.Y. 1998).

       The classic role of the amicus curiae is to assist in a case of general

 public interest, supplement the efforts of counsel, and draw the court's

 attention to law that may otherwise escape consideration. Miller-Wohl Co.,

 Inc. v. Commissioner of Labor and Indus., 694 F.2d 203, 204 (9th Cir. 1982).

 There is no requirement that an amicus be disinterested. Funbus Systems,

 Inc. v California Public Utilities Commission, 801 F.2d 1120, 1125 (9th Cir.

 1986); Hoptowit v. Ray, 682 F.2d 1237, 1260 (9th Cir. 1982).

       Movants are two elected UAW International officers and members of

 its governing International Executive Board. Their filing of this motion is

 primarily occasioned by their October 9, 2024 receipt, through a former

 colleague of their counsel, of an unpublished 2016 decision of the United

 States District Court for the Southern District of New York, which Movants

 wish to bring to the Court’s attention. That decision, rendered in the



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 context of a federal court-approved consensual order between the United

 States and a labor union, addresses the investigatory production of

 privileged materials, as do the Cross-Motions here. Movants submit that

 this Court’s review of that decision will aid the Court’s decision-making in

 this case.

       Movants also seek to inform the Court about the delays in the

 processing of their internal union appeals that have resulted from the

 Monitor’s inability to complete his investigations. See Declaration of

 Margaret Mock, filed herewith. Those unresolved appeals concern the

 same facts and issues being investigated by the Monitor. Movants submit

 that it is against the interests of the UAW’s membership and the public

 interest for the Monitor’s investigations and the UAW’s internal appellate

 processes to be delayed any longer.

       The UAW will claim - with respect to submission of the SDNY

 Decision – that this Motion is untimely, presumably because briefing on the

 Cross-Motions has ended and a date for oral argument is set. Although

 there is no provision of the Federal Rules of Civil Procedure that is

 instructive on this timeliness question, the Movants submit that the Court




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 should consult Rule 28(j) of the Federal Rules of Appellate Procedure as a

 guide. F.R.A.P. Rule 28(j) provides:

       “(j) Citation of Supplemental Authorities. If pertinent and
       significant authorities come to a party's attention after the party's
       brief has been filed—or after oral argument but before decision—a
       party may promptly advise the circuit clerk by letter, with a
       copy to all other parties, setting forth the citations. The letter
       must state the reasons for the supplemental citations, referring
       either to the page of the brief or to a point argued orally. The
       body of the letter must not exceed 350 words. Any response
       must be made promptly and must be similarly limited.”
       (Emphasis supplied.)

 Here, the SDNY Decision came to the Movants’ attention on October 9,

 2024, well after briefing on the UAW and Monitor Cross-Motions was

 completed. Until that point, the Movants had not sought leave to file

 anything with the Court on the Cross-Motions.1 The important point here

 is that this federal appellate rule allows for a citation of a supplemental

 authority after briefing – and even after oral argument – provided that it has

 come to “the party’s attention” after briefing has ended. That is the case here.


 1 Once the unpublished SDNY Decision came to Movants’ attention on

 October 9, 2024, the Movants began their effort to ensure that this decision
 was presented to this Court. First, they provided a copy of the SDNY
 Decision to the Monitor, asking him to provide it to this Court. When that
 did not result, Movants provided a copy of the SDNY Decision to counsel
 for the United States and the UAW on October 28, 2024, seeking their
 consent to it being filed with this Court. This Motion became necessary
 only when the UAW’s consent was not obtained.

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  Even though they are not party-intervenors here, but only proposed amici,

  the Movants submit that this same logic makes timely their effort to bring

  the SDNY Decision to the Court’s attention here.

  CONCLUSION

        For these reasons, the foregoing Motion for Leave of Court Allowing

  Limited Participation of Interested Parties Margaret Mock and Rich Boyer

  as Amici Curiae should be granted.


                               Respectfully submitted,

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                                     Counsel for Margaret Mock and Rich Boyer

  Dated: November 7, 2024




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